Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 1 of 23




                  EXHIBIT 7
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 2 of 23



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                              )
                                                    )
                              Plaintiff,            )
                                                    )     Civil Action No. l:17-cv-11008-MLW
                      v.                            )
                                                    )
CELLTRION HEALTHCARE CO., LTD.,                     )
CELLTRION, INC., and                                )
HOSPIRA, INC.,                                      )
                                                    )
                              Defendants.           )
                                                    )
                                                    )

 DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                             (NOS. 1–75)

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, the Local Rules of

this Court, and this Court’s June 21, 2017 Order (No. 15-10698 Dkt. 574), Defendants Celltrion

Healthcare Co., Ltd., Celltrion, Inc. (together “Celltrion”), and Hospira, Inc. (“Hospira”)

(collectively “Defendants”) hereby request that Plaintiff Janssen Biotech, Inc. (“Janssen”)

respond to the following requests by August 14, 2017. Documents and things should be produced

at the offices of Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, or

at such other place or in such other manner as may be mutually agreed upon by the parties.

       Janssen lacks standing for its May 31, 2017 complaint, and the complaint should be

dismissed for at least the reasons set forth in Defendants’ motion to dismiss filed July 11, 2017.

Further, Defendants contend that the parties and the Court should not devote resources to

conducting discovery while Defendants’ motion to dismiss is pending. These requests are

propounded without waiver of any position of Defendants’ with respect to standing, their motion

to dismiss, or the question of whether further discovery on damages should be stayed until the

Defendants’ motion to dismiss the 2017 action is decided.
        Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 3 of 23



        The ’083 patent is not infringed and is invalid, and Janssen is not entitled to any form of

relief, monetary or otherwise. The below requests are made without any admission or waiver of

rights or arguments regarding noninfringement, invalidity, or any of Janssen’s theories or claims

regarding damages or other relief.

        Defendants reserve all rights to serve additional discovery requests, including

interrogatories, requests for production, requests for admission, and requests for discovery from

third parties.




                                                 2
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 4 of 23



                            DEFINITIONS AND INSTRUCTIONS

       1.      These definitions and instruction incorporate by reference the Federal Rules of

Civil Procedure and Local Rules of this Court.

       2.      “Biosimilar” means a biological product as defined under 42 U.S.C. § 262.

       3.      “BLA” means a Biologic License Application submitted to FDA, as authorized by

42 U.S.C. § 262 and as regulated by 21 C.F.R. §§ 600 et seq.

       4.      “Celltrion” means Defendant Celltrion, Inc. and/or Defendant Celltrion

Healthcare Co., Ltd., and, where applicable, their officers, directors, employees, partners,

corporate parents, subsidiaries, affiliates, successors, predecessors, and any Person or

organization under their control.

       5.      “Celltrion’s Biosimilar Infliximab” means the biologic product that is the subject

of Celltrion’s BLA (BLA 125544) for which Janssen’s Remicade® (infliximab) products is the

claimed reference product under 42 U.S.C. § 262(k).

       6.      “Communication(s)” means any transmission of information from one Person or

entity to another or between or among two or more Persons or entities, including but not limited

to conveyances of information by e-mail, text message, memorandum, letter, note, Document,

telegram, fax, telephone, voicemail, recording, in-person communication, post, instant

messaging, tweet, or other media, and also includes the circumstances by which You came into

possession of the Document evidencing the communication.

       7.      “Defendants” means, individually and collectively, Celltrion and Hospira.

       8.      “Document(s)” is to be given its customary and broad sense and means originals

and all other copies (whether in printed, optical, or electronic form) of all written or graphic

materials however produced or reproduced, of every kind and description, in Your possession,

custody, or control, including, without limitation, all content storage media and items, whether

                                                 3
        Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 5 of 23



handwritten, printed, recorded, filmed, typewritten, or produced by any other mechanical,

optical, or electronic process, whether on disk, diskette, tape, card, hard drive, or otherwise

stored in a memory either electronically, optically, digitally, graphically, or mechanically,

whether or not asserted to be privileged or immune from discovery, and whether the item is a

master or original or copy, including drafts of, or original, preliminary notes or marginal

notations appearing on any Document, including self-stick removable notes, and any other

information-containing paper or other medium, including but not limited to any such medium

that in any way records or Documents a Communication.

       9.      “FDA” means the United States Food and Drug Administration.

       10.     “Hospira” means Defendant Hospira, Inc. and, where applicable, its officers,

directors,   employees,   partners,   corporate    parents,   subsidiaries,   affiliates,   successors,

predecessors, and any Person or organization under their control.

       11.     “Infliximab” means chimeric monoclonal antibody that is the active ingredient in

Remicade®.

       12.     “Infliximab Product(s)” means any and all products, compositions, formulations,

or dosage forms containing Infliximab or Biosimilar Infliximab as the active ingredient,

including but not limited to proposed, experimental, and commercial embodiments.

       13.     “Information” means information in any form, including but not limited to

Documentary, electronic, graphical, or tabular, and communicated by any means, including but

not limited to orally, in writing, in a Document, or via electronic communication.

       14.     “Janssen,” “You,” and “Your” mean Janssen Biotech, Inc., its predecessors

(including Centocor, Inc. and Centocor Ortho Biotech, Inc.) and successors, its past and present

parents, subsidiaries, and divisions, any entities in which they have or had an interest, its past and



                                                  4
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 6 of 23



present directors, officers, employees, and agents, and past and present representatives (including

consultants and attorneys) of any of the foregoing, including any and all Persons acting or

purporting to act, or who have acted or purported to act, on behalf of Janssen Biotech, Inc., its

past and present parents, subsidiaries, and divisions, any entities in which they have or had an

interest, its past and present directors, officers, employees, and agents, and past and present

representatives (including consultants and attorneys) of any of the foregoing.

       15.     “Johnson & Johnson” and “J&J” mean Johnson & Johnson, its predecessors and

successors, its past and present parents, subsidiaries, and divisions, any entities in which they

have or had an interest (e.g., the Johnson & Johnson family of companies), its past and present

directors, officers, employees, and agents, and past and present representatives (including

consultants and attorneys) of any of the foregoing, including any and all Persons acting or

purporting to act, or who have acted or purported to act, on behalf of Johnson & Johnson, its past

and present parents, subsidiaries, and divisions, any entities in which they have or had an

interest, its past and present directors, officers, employees, and agents, and past and present

representatives (including consultants and attorneys) of any of the foregoing.

       16.     “Janssen’s BLA” means Janssen’s Biologics License Application No. 103772,

including any amendments, supplemental filings, or additions, filed with the FDA for approval to

commercially market Remicade®.

       17.     “Person(s)” means any natural person, firm, association, partnership, government

agency, or other entity and its officers, directors, partners, employees, former employees,

representatives and agents.

       18.     “Remicade®” means any drug product or pharmaceutical formulation marketed

or sold under the name Remicade®, any other drug product or pharmaceutical formulation



                                                5
         Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 7 of 23



marketed further to the FDA’s approval of Janssen’s BLA, as amended and/or supplemented,

and any Infliximab Product for which Janssen seeks damages.

         19.   “Remicade® Media” means any cell medium used to manufacture or produce

Remicade®.

         20.    “’083 Patent” and “Asserted Patent” mean U.S. Patent No. 7,589,083.

         21.   “’083 Patent Inventors” means those individuals, individually and collectively,

who contributed in any way to the conception of the subject matter claimed in U.S. Patent No.

7,589,083, including but not limited to the individuals listed on the face of the ’083 Patent:

David Epstein, Roger Monsell, Joseph Horwitz, Susan Lenk, Sadettin Ozturk, and Christopher

Marsh.

         22.   “’083 Patent Media Product(s)” means any cell medium composition embodying

the composition claimed in the ’083 Patent.

         23.   “Reflecting,” “referring,” “relating to,” “regarding,” “concerning” or any

derivation thereof shall mean, without limitation, being in any way legally, logically, or factually

connected with the matter discussed.

         24.   As used in these Requests for Production (“Request”), the singular shall include

the plural, the past tense shall include the present tense, and vice versa, the words “and” and “or”

shall be both conjunctive and disjunctive, the word “all” shall mean “any and all,” and the word

“including” shall mean “including without limitation,” whichever makes the Request more

inclusive.

         25.   If You claim that a Request is in any way objectionable, respond to the portion of

the Request believed to be unobjectionable and specifically identify that aspect of the Request

that You claim to be objectionable and why.



                                                 6
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 8 of 23



       26.     If You claim that Information requested or required in response to a given

Request is also responsive to another Request, You may not answer the Request by referring to

the answer to another Request unless the answer to the Request being referred to supplies a

complete and accurate response to the Request being answered.

       27.     If You object to any Request on the ground that it is vague and/or ambiguous,

identify the particular words, terms, or phrases that You assert make such Request vague and/or

ambiguous and specify the meaning You actually attribute to such words, terms, or phrases for

purposes of Your response.

       28.     If any requested Document is known, thought, or believed to have once existed

and cannot now be located, or has been destroyed or discarded, identify the Document by stating

the last known custodian of the Document, the date the Document was discarded or destroyed,

the manner and means by which the Document was destroyed or discarded, the reason or reasons

the Document was discarded or destroyed, the efforts made to locate such Document or a

duplicate of it, and a statement describing the contents of the Document and all authors,

addressees and recipients of the Document.

       29.     Each Document responsive to any Request shall be produced in its entirety,

including all attachments and enclosures. If a portion of a Document is responsive to a Request,

produce the entire Document, including all attachments, enclosures, “post-it”-type notes, and any

other part physically attached to the Document. If a Document responsive to any Request cannot

be produced in full, it shall be produced to the extent possible with an explanation stating why.

       30.     Separately with respect to each piece of Information called for by these Requests

that You withhold under a claim of privilege or otherwise, state that You are withholding it and




                                                 7
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 9 of 23



explain why, including a description of the Information withheld in accordance with Fed. R. Civ.

P. 26(b)(5).

       31.     No Request shall be read as limiting any other Request.

       32.     Unless otherwise stated, all electronically stored information (“ESI”) shall be

produced in the form in which it is ordinarily maintained, or as text searchable single page TIFF

images with associated multi-page text files containing extracted text or OCR with Concordance

and Opticon load files containing all requisite Information including relevant metadata. The

integrity of the underlying ESI including formatting, metadata, and revision history shall be

preserved.

       33.     The Requests are continuing and require, to the extent authorized by Fed. R. Civ.

P. 26(e), production of any additional responsive Documents that may be located or acquired by

You or those in privity with You after the date of Your original production.




                                                8
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 10 of 23



                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       All Documents relating to development, testing, and evaluation of cell culture media for
commercial production of Remicade® and Infliximab Products, including but not limited to ’083
Patent Media Products and/or Remicade® Media.

REQUEST FOR PRODUCTION NO. 2:

       All Documents relating to Janssen’s consideration of or decision not to use any ’083
Patent Media Product to commercially produce Remicade® and any other Infliximab Products.

REQUEST FOR PRODUCTION NO. 3:

        All Documents, created by You or on Your behalf, that constitute, refer to, or reflect
analysis of or Information about the United States market and all other markets in which
Infliximab Products are sold for (a) Remicade®, (b) Infliximab Products generally, or (c)
Celltrion’s Biosimilar Infliximab.

REQUEST FOR PRODUCTION NO. 4:

        All Documents relating to business plans, commercial strategic plans, or marketing plans
relating to Remicade® for sale in the United States and in all other markets in which Infliximab
Products are sold.

REQUEST FOR PRODUCTION NO. 5:

      All Documents concerning Communications with FDA regarding sales or marketing of
Remicade®, including any comparison to other biologic or pharmaceutical drugs.

REQUEST FOR PRODUCTION NO. 6:

        All Documents concerning physician demand, medical provider demand, insurer demand,
or consumer demand for Remicade® in the United States and in all other markets in which
Infliximab Products are sold, including all articles, press releases, consultant reports, trade press,
surveys concerning demand or consumer preferences, and demand analyses.

REQUEST FOR PRODUCTION NO. 7:

       Documents sufficient to identify all competitive products to Remicade® (e.g., products
used to treat one or more conditions treated by Remicade®) in the United States and in all other
markets in which Infliximab Products are sold, as between or among Infliximab Products, other
Biosimilars, other pharmaceuticals, or other products or treatment used to treat one or more
conditions treated by Remicade®.




                                                  9
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 11 of 23



REQUEST FOR PRODUCTION NO. 8:

        All Documents concerning competition between Remicade® and any other product or
treatment used to treat one or more conditions treated by Remicade®, including, without
limitation, assessments of projected market share and/or revenue analyses, consumer surveys,
consultant surveys, economic studies, promotional materials, sales materials, training materials,
or any other Documents concerning the (dis)advantages, benefits, weaknesses, or limitations of,
Remicade® in relation to any other product or treatment. This Request applies to competition in
the United States and in all other markets in which Infliximab Products are sold.

REQUEST FOR PRODUCTION NO. 9:

       All Documents concerning the business plans, commercial strategic plans, and marketing
plans of all ’083 Patent Media Products for sale in the United States and in all other markets in
which ’083 Patent Media Products are sold, including any plans, research, projections, reports,
and budgets for the sale of such media or soluble composition.

REQUEST FOR PRODUCTION NO. 10:

       All Documents regarding any financial valuations of the ’083 Patent or ’083 Patent
Media Products, including for licensing, transfer pricing, inter-company transfer, transaction
purposes, or any other reason.

REQUEST FOR PRODUCTION NO. 11:

       All Documents concerning consumer demand for ’083 Patent Media Products in the
United States and worldwide, including all articles, press releases, consultant reports, trade press,
surveys concerning Consumer demand or consumer preferences, and consumer demand analyses.

REQUEST FOR PRODUCTION NO. 12:

        Documents sufficient to identify all competitive products to ’083 Patent Media Products
(e.g., Remicade® Media, and products used to or capable of producing Remicade® or any other
Infliximab Product).

REQUEST FOR PRODUCTION NO. 13:

        All Documents concerning competition between ’083 Patent Media Products and any
other product that is or may be used for the same purpose(s) as the ’083 Patent Media Products,
including, without limitation, assessments of projected market share and/or revenue analyses,
consumer surveys, consultant surveys, economic studies, promotional materials, sales materials,
training materials, or any other Documents concerning the (dis)advantages, benefits, weaknesses,
or limitations of, the ’083 Patent Media Products in relation to any other product. This Request
applies to competition in the United States and in all other markets in which ’083 Patent Media
Products are sold.




                                                 10
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 12 of 23



REQUEST FOR PRODUCTION NO. 14:

       Documents sufficient to identify possible or anticipated use(s) of ’083 Patent Media
Products.

REQUEST FOR PRODUCTION NO. 15:

        All Documents relating to projected or estimated sales (in units and dollars), costs,
profits, pricing, market share, sales volume, market projections or analysis, or consumer profiles
concerning Remicade® for sale in the United States and in all other markets in which Infliximab
Products are sold.

REQUEST FOR PRODUCTION NO. 16:

        All Documents concerning the potential effect of selling Remicade® on promoting sales
of other products, including, but not limited to, derivative or convoyed sales.

REQUEST FOR PRODUCTION NO. 17:

        Documents sufficient to identify the total number of units of Remicade® sold, in the
United States and in all other markets in which Infliximab Products are sold, to end-payers, on a
monthly, quarterly, annual and/or other period basis, together with Documents or data sufficient
to show: (a) the location of sales (country, city, and state); (b) product description; (c) product
strength; (d) product form; (e) package size in terms of units per package; and (f) NDC, UPC, or
SKU.

REQUEST FOR PRODUCTION NO. 18:

        All Documents reflecting the sales and/or prescriptions for Remicade® by quarter and by
year, as reported in dollars and number of units of Remicade® sold, including (a) National Drug
and Therapeutic Index (NDTI) data, (b) Xponent data and/or Xponent PlanTrak data, (c)
Formulary Focus data, (d) IMS data, (e) Scott-Levin data, (f) Calls, Samples, and Details data,
(g) Integrated Promotional Services (IPS) data, and (h) Early View data.

REQUEST FOR PRODUCTION NO. 19:

         All Documents concerning the costs, actual revenues, royalties, expenses, returns, profits,
or profit margins relating to the sale of Remicade® sold in the United States and in all other
markets in which Infliximab Products are sold on a monthly and annual basis, including
Documents reflecting: (a) gross revenues; (b) net revenues; (c) fixed and variable costs of goods
sold; (d) fixed and variable costs of manufacturing; (e) sales and distribution costs; (f) marketing,
advertising, promotional, and sales expenses; (g) fixed and variable operating expenses; (h)
research and development expenditures (including costs related to Remicade® Media and costs
for testing cell media not ultimately used to produce Remicade®); (i) licensing fees and royalties
paid and/or received; (j) depreciable and capital improvements; (k) materials cost; (l) labor cost;
(m) marginal cost; (n) rebates and discounts; (o) unit volume of sold net of returns; (p) gross
profits; (q) operating profits; (r) net profits; and (s) allocation of overhead costs not booked
separately.

                                                 11
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 13 of 23



REQUEST FOR PRODUCTION NO. 20:

        Documents sufficient to show how any revenues, royalties, returns, and profits relating to
the sale of Remicade®, sold in the United States and in all other markets in which Infliximab
Products are sold, are distributed between Janssen and other Johnson & Johnson entities.

REQUEST FOR PRODUCTION NO. 21:

        All Documents relating to projected or estimated sales (in units and dollars), costs,
profits, pricing, market share, sales volume, market projections or analysis, or consumer profiles
concerning ’083 Patent Media Products for sale in the United States and in all other markets in
which ’083 Patent Media Products are sold.

REQUEST FOR PRODUCTION NO. 22:

        All Documents, created by You or on Your behalf, that constitute, refer to, or reflect
analysis of, or Information about, pricing of (a) Remicade®, (b) Infliximab Products, or (c)
Celltrion’s Biosimilar Infliximab in the United States and in all other markets in which
Infliximab Products are sold, including, but not limited to, the effect of price on demand or sales
of Infliximab Products, price elasticity, and the effect of Infliximab Product pricing on demand
or sales of products used to treat one or more conditions treated by Remicade®.

REQUEST FOR PRODUCTION NO. 23:

        All Documents that constitute, refer to, or reflect Your pricing strategy for Remicade®
that is made, sold, offered for sale, used, or imported into the United States, including but not
limited to any price lists, pricing manuals, pricing histories, pricing plans, pricing policies,
pricing forecasts, pricing strategies, pricing analyses, pricing projections, or pricing decisions,
and Documents showing rebate calculations.

REQUEST FOR PRODUCTION NO. 24:

        All product-specific profit and loss statements, including but not limited to Documents or
data concerning any of the following financial characteristics of Remicade®, broken down by
indicated treatment if available: (a) the total amount of revenue from sales; (b) the total gross
profit from sales; (c) the total net profit from sales, together with all expenses, deductions,
allowances or other adjustments used to calculate net profits; and (d) the total amount spent on
marketing, advertising, promotions and sales both in the aggregate and based on the particular
type of expense.

REQUEST FOR PRODUCTION NO. 25:

        Janssen’s financial reports and statements from the year(s) of the initial research and
development that led to the subject matter of the ’083 Patent to the present including annual
reports, monthly reports, balance sheets and statements of income, gross revenue, gross profit,
net profit, and costs.



                                                12
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 14 of 23



REQUEST FOR PRODUCTION NO. 26:

        Documents sufficient to identify what You contend the measure of lost profits would be
in this case, or which would otherwise establish what You contend is the value of the ’083
Patent.

REQUEST FOR PRODUCTION NO. 27:

       All Documents that support, refute, or concern Your assertion that Janssen has lost or will
lose “market share for and profits from Remicade® in the markets in which Defendants’
Biosimilar [infliximab] product is marketed,” as asserted in the Complaint.

REQUEST FOR PRODUCTION NO. 28:

        All Documents that support, refute, or concern Your assertion that Janssen’s licensee for
distribution of Remicade® has lost or will lose “market share for and profits from Remicade® in
markets in which Defendants’ Biosimilar [infliximab] product is marketed,” as asserted in the
Complaint.

REQUEST FOR PRODUCTION NO. 29:

        Documents sufficient to show Your strategy or planning (or both) with respect to
reimbursements to be received by any Person or entity for purchase of Remicade® in the United
States and in all other markets in which Infliximab Products are sold.

REQUEST FOR PRODUCTION NO. 30:

       All Documents that constitute, refer to, or reflect Your strategy or analysis (or both) for
discounts or rebates (or both) of Remicade® on sale in the United States and in all other markets
in which Infliximab Products are sold.

REQUEST FOR PRODUCTION NO. 31:

       Documents sufficient to show Remicade®’s (i) wholesale acquisition cost, (ii) retail or
usual and customary price, (iii) net sales, (iv) total prescription market share and volume, (v)
new prescription market share and volume, and (vi) marketing budget for each month since its
introduction in the U.S.

REQUEST FOR PRODUCTION NO. 32:

       All Documents concerning the costs, expenses, or profitability of making, using, offering
for sale, research and development, commercialization, design, testing, characterization,
evaluation, regulatory approval, formulating, manufacturing, packaging, labeling, supplying,
importation, export, distribution, promotion, marketing, or pursuit of regulatory approval for any
’083 Patent Media Products.




                                               13
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 15 of 23



REQUEST FOR PRODUCTION NO. 33:

       All Documents concerning the costs, expenses, or profitability of making, using, offering
for sale, research and development, commercialization, design, testing, characterization,
evaluation, regulatory approval, formulating, manufacturing, packaging, labeling, supplying,
importation, export, distribution, promotion, marketing, and pursuit of regulatory approval for
Remicade® Media.

REQUEST FOR PRODUCTION NO. 34:

        All Documents concerning the costs, expenses, or profitability of making, using, offering
for sale, research and development, commercialization, design, testing, characterization,
evaluation, regulatory approval, formulating, manufacturing, packaging, labeling, supplying,
importation, export, distribution, promotion, marketing, and pursuit of regulatory approval for
any cell medium or cell medium composition evaluated, tested, contemplated, or proposed for
use to commercially produce Remicade®.

REQUEST FOR PRODUCTION NO. 35:

       All Documents concerning the costs, expenses, or profitability of making, using, offering
for sale, research and development, commercialization, design, testing, characterization,
evaluation, regulatory approval, formulating, manufacturing, packaging, labeling, supplying,
importation, export, distribution, promotion, marketing, and pursuit of regulatory approval for
Remicade®.

REQUEST FOR PRODUCTION NO. 36:

       All Documents regarding any monetary or non-monetary compensation, benefits,
bonuses, or inducements that Janssen or any other Johnson & Johnson family company offered,
provided, or proposed to any of the ’083 Patent Inventors related to the ’083 Patent Media
Products and/or the ’083 Patent, including Communications concerning profit sharing, salary,
commissions, bonuses, fringe benefits, insurance, stock options, health and medical benefits,
vacation benefits, retirement benefits, deferred compensation benefits and annuity benefits.

REQUEST FOR PRODUCTION NO. 37:

       All Documents regarding any monetary or non-monetary compensation, benefits,
bonuses, or inducements that Janssen or any other Johnson & Johnson family company offered,
provided, or proposed to any of the ’083 Patent Inventors after the ’083 Patent Inventors left the
employment of Janssen, including Communications concerning profit sharing, salary,
commissions, bonuses, fringe benefits, insurance, stock options, health and medical benefits,
vacation benefits, retirement benefits, deferred compensation benefits and annuity benefits.

REQUEST FOR PRODUCTION NO. 38:

      Documents sufficient to identify each Janssen and/or Johnson & Johnson entity that has
employed or currently employees each of the ’083 Patent Inventors.


                                               14
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 16 of 23



REQUEST FOR PRODUCTION NO. 39:

      All agreements or licenses, and Documents regarding agreements or licenses, between or
among Janssen and New York University that refer to or relate to Remicade®.

REQUEST FOR PRODUCTION NO. 40:

        All agreements or licenses, and Documents regarding current, former, future, proposed,
contemplated, or rejected agreements or licenses, between You and any third party that refer to
or relate to the making, use, offering for sale, sale, research, development, commercialization,
design, testing, characterization, evaluation, regulatory approval, formulating, manufacturing,
packaging, labeling, supplying, importation, export, distribution, promotion, marketing, pursuit
of regulatory approval in the United States, profit sharing, or royalty distribution of Remicade®.

REQUEST FOR PRODUCTION NO. 41:

        All agreements or licenses, and Documents regarding current, former, future, proposed,
contemplated, or rejected agreements or licenses, between You and any third party that refer to
or relate to the making, use, offering for sale, sale, research, development, commercialization,
design, testing, characterization, evaluation, regulatory approval, formulating, manufacturing,
packaging, labeling, supplying, importation, export, distribution, promotion, marketing, pursuit
of regulatory approval in the United States, profit sharing, or royalty distribution of ’083 Patent
Media Products.

REQUEST FOR PRODUCTION NO. 42:

        All agreements or licenses, and Documents regarding current, former, future, proposed,
contemplated, or rejected agreements or licenses, between You and any third party that refer to
or relate to the making, use, offering for sale, sale, research, development, commercialization,
design, testing, characterization, evaluation, regulatory approval, formulating, manufacturing,
packaging, labeling, supplying, importation, export, distribution, promotion, marketing, pursuit
of regulatory approval in the United States, profit sharing, or royalty distribution of Remicade®
Media.

REQUEST FOR PRODUCTION NO. 43:

        All agreements or licenses, and Documents regarding current, former, future, proposed,
contemplated, or rejected agreements or licenses, between You and any third party that refer to
or relate to the making, use, offering for sale, sale, research, development, commercialization,
design, testing, characterization, evaluation, regulatory approval, formulating, manufacturing,
packaging, labeling, supplying, importation, export, distribution, promotion, marketing, pursuit
of regulatory approval in the United States, profit sharing, or royalty distribution of cell culture
media.

REQUEST FOR PRODUCTION NO. 44:

      All agreements or licenses, and Documents regarding current, former, future, proposed,
contemplated, or rejected agreements or licenses, between You and any third party that refer to

                                                15
       Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 17 of 23



or relate to the making, use, offering for sale, sale, research, development, commercialization,
design, testing, characterization, evaluation, regulatory approval, formulating, manufacturing,
packaging, labeling, supplying, importation, export, distribution, promotion, marketing, pursuit
of regulatory approval in the United States, profit sharing, or royalty distribution of any biologic
drug.

REQUEST FOR PRODUCTION NO. 45:

        All Documents related to each instance of licensing of related applications, related
patents, or foreign counterparts of the ’083 Patent, including a copy of each such license and any
appendices, attachments, or amendments thereto.

REQUEST FOR PRODUCTION NO. 46:

       All Documents relating to the royalty rate or rates that You contend would constitute a
reasonable royalty under 35 U.S.C. § 284, assuming infringement of the ’083 Patent, including,
for example, Documents regarding any facts, circumstances, legal contentions, and other factors
upon which Janssen bases its contention, including any or all of the factors to be considered
under a Georgia-Pacific analysis; the relevant time period(s) during which the rate or rates
should be applied; and any assumptions, estimates, circumstances, and calculations upon which
Janssen bases such contention(s).

REQUEST FOR PRODUCTION NO. 47:

       All Documents relating to Janssen’s assertion that it is entitled to damages for lost profits,
assuming infringement of the ’083 Patent, including, for example, Documents regarding any
facts, circumstances, legal contentions, and other factors upon which Janssen bases its
contention; the relevant time period(s) for which lost profits are sought; and any assumptions,
estimates, circumstances, and calculations upon which Janssen bases such contention(s).

REQUEST FOR PRODUCTION NO. 48:

       All Documents relating to Janssen’s assertion that it is entitled to damages for price
erosion, assuming infringement of the ’083 Patent, including, for example, Documents regarding
any facts, circumstances, legal contentions, and other factors upon which Janssen bases its
contention; the relevant time period(s) for which recovery for price erosion is sought; and any
assumptions, estimates, circumstances, and calculations upon which Janssen bases such
contention(s).

REQUEST FOR PRODUCTION NO. 49:

       Documents sufficient to show the complete composition of and manufacturing process
for ’083 Patent Media Products that have ever been made, used, offer for sale, sold, or
commercialized by Janssen or any licensee of the ’083 Patent.




                                                 16
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 18 of 23



REQUEST FOR PRODUCTION NO. 50:

      Documents sufficient to show the complete composition and formula of, and
manufacturing process for, Remicade® Media.

REQUEST FOR PRODUCTION NO. 51:

      Documents sufficient to show the sources of or vendors for Remicade® Media or all
components or ingredients of Remicade® Media.

REQUEST FOR PRODUCTION NO. 52:

        All Documents that refer to or mention Infliximab, any Infliximab Product, or the Sp2/0
cell line and also Iscove’s medium, Iscove’s powder, Iscove’s modified Dulbecco’s medium or
IMDM.

REQUEST FOR PRODUCTION NO. 53:

        All Documents that refer to or mention Infliximab, any Infliximab Product or the Sp2/0
cell line and also CD Hybridoma Medium or any version or modification of CD Hybridoma
Medium.

REQUEST FOR PRODUCTION NO. 54:

       All publicly available Documents that disclose a cell culture medium or cell culture
medium composition that has been or may be used for producing Infliximab or any Infliximab
Product.

REQUEST FOR PRODUCTION NO. 55:

       Documents sufficient to identify all cell culture media or media compositions of which
Janssen is aware that can be used to produce infliximab and which Janssen contends are not ’083
Patent Media Products, including Documents sufficient to show that any such media or media
composition is not an ’083 Patent Media Product.

REQUEST FOR PRODUCTION NO. 56:

        Documents sufficient to show all Janssen and Johnson & Johnson entities and third
parties involved in the development, manufacture, testing, sale, offer for sale, importation, and
exportation of ’083 Patent Media Products.

REQUEST FOR PRODUCTION NO. 57:

        Documents sufficient to show all Janssen and Johnson & Johnson entities and third
parties involved in the development, manufacture, testing, sale, offer for sale, importation, and
exportation of Remicade® Media.




                                               17
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 19 of 23



REQUEST FOR PRODUCTION NO. 58:

        Documents sufficient to show all Janssen and Johnson & Johnson entities and third
parties involved in the development, manufacture, testing, sale, offer for sale, importation, and
exportation of Remicade®.

REQUEST FOR PRODUCTION NO. 59:

       Documents relating to the capacity of all Janssen and Johnson & Johnson entities to
develop, manufacture, sell, import, and export Remicade® and any other Infliximab Products.

REQUEST FOR PRODUCTION NO. 60:

       All Documents concerning any agreement between a third party and Janssen or any other
J&J entity regarding any partnership, collaboration, or any other joint venture for the sale,
marketing, promotion, or manufacture of Remicade®.

REQUEST FOR PRODUCTION NO. 61:

        All Documents which form the basis for, or which contradict, Your contention that this
case is “exceptional,” as asserted in the Complaint.

REQUEST FOR PRODUCTION NO. 62:

        All Documents that support, refute, or concern Your contention that the alleged
infringement of the ’083 Patent was willful, as asserted in the Complaint.

REQUEST FOR PRODUCTION NO. 63:

        All confidential, non-public, and/or sealed filings and discovery responses in the action
entitled Janssen Biotech, Inc. v. Samsung Bioepis Co., Ltd., Case No. 17-cv-03524-MCA-SCM
(D.N.J.).

REQUEST FOR PRODUCTION NO. 64:

        All Documents relating to, and Documents sufficient to identify the bases for, Janssen’s
contention that Samsung Bioepis Co., Ltd. infringes one or more claims of the ’083 Patent as
asserted in Janssen Biotech, Inc. v. Samsung Bioepis Co., Ltd., Case No. 17-cv-03524-MCA-
SCM (D.N.J.), including the protocol for and results of any testing of Samsung Bioepis Co.,
Ltd.’s products conducted by, for, or on behalf of Janssen.

REQUEST FOR PRODUCTION NO. 65:

       All transcripts of court hearings in the action entitled Janssen Biotech, Inc. v. Samsung
Bioepis Co., Ltd., Case No. 17-cv-03524-MCA-SCM (D.N.J.).




                                               18
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 20 of 23



REQUEST FOR PRODUCTION NO. 66:

       Documents sufficient to identify all accused products and the compositions of all accused
products in the action entitled Janssen Biotech, Inc. v. Samsung Bioepis Co., Ltd., Case No. 17-
cv-03524-MCA-SCM (D.N.J.).

REQUEST FOR PRODUCTION NO. 67:

        All confidential, non-public, and/or sealed filings in the action entitled Janssen Biotech,
Inc. v. HyClone Labs. Inc., Case No. 16-cv-00071-JNP-EJF (D. Utah).

REQUEST FOR PRODUCTION NO. 68:

        All Documents relating to, and Documents sufficient to identify the bases for, Janssen’s
contention that HyClone Laboratories, Inc. infringes one or more claims of the ’083 Patent as
asserted in Janssen Biotech, Inc. v. HyClone Labs. Inc., Case No. 16-cv-00071-JNP-EJF (D.
Utah), including the protocol for and results of any testing of GE’s or HyClone Laboratories,
Inc.’s products conducted by, for, or on behalf of Janssen.

REQUEST FOR PRODUCTION NO. 69:

       All transcripts of court hearings in the action entitled Janssen Biotech, Inc. v. HyClone
Labs. Inc., Case No. 16-cv-00071-JNP-EJF (D. Utah).

REQUEST FOR PRODUCTION NO. 70:

       Documents sufficient to identify all accused products in the action entitled Janssen
Biotech, Inc. v. HyClone Labs. Inc., Case No. 16-cv-00071-JNP-EJF (D. Utah).

REQUEST FOR PRODUCTION NO. 71:

        Documents sufficient to identify all Persons or entities aside from Defendants whom You
contend infringe or practice, or have infringed or practiced, the ’083 Patent, including
identification of all products You contend infringe or practice the ’083 Patent.

REQUEST FOR PRODUCTION NO. 72:

        Documents sufficient to show how any monetary damages recovered in this case will be
distributed among Janssen, Johnson & Johnson entities, or any other third party, including
identification of which entities will recover any portion of damages.

REQUEST FOR PRODUCTION NO. 73:

       All Documents that support, refute, or concern whether You or any licensee of the ’083
Patent marked any products and/or packaging with the ’083 Patent.




                                                19
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 21 of 23



REQUEST FOR PRODUCTION NO. 74:

       All Documents that were considered by, or form the basis of, Your experts’ opinion on or
determination of the amount and type of damages to be awarded in this case.

REQUEST FOR PRODUCTION NO. 75:

       All Documents and things referred to, relied upon, cited, identified, or otherwise used to
prepare any answer to any Interrogatory propounded by Defendants in the present action.




                                               20
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 22 of 23



Dated: July 11, 2017                Respectfully submitted,

                                    Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                    and Hospira, Inc.

                                    By their attorneys,

                                    /s/Andrea L. Martin, Esq. ______________
                                    Dennis J. Kelly (BBO # 266340)
                                    Andrea L. Martin (BBO #666117)
                                    BURNS & LEVINSON LLP
                                    125 Summer Street
                                    Boston, MA 02110-1624
                                    Telephone: 617-345-3000
                                    Facsimile: 617-345-3299
                                    dkelly@burnslev.com
                                    amartin@burnslev.com

                                    James F. Hurst, P.C. (pro hac vice to be filed)
                                    Bryan S. Hales, P.C. (pro hac vice to be filed)
                                    Elizabeth A. Cutri (pro hac vice to be filed)
                                    KIRKLAND & ELLIS LLP
                                    300 North LaSalle
                                    Chicago, IL 60654
                                    Tel: (312) 862-2000
                                    james.hurst@kirkland.com
                                    bryan.hales@kirkland.com
                                    elizabeth.cutri@kirkland.com

                                    Charles B. Klein (pro hac vice to be filed)
                                    WINSTON & STRAWN LLP
                                    1700 K Street, N.W.
                                    Washington, D.C. 20006-3817
                                    Tel: (202) 282-5000
                                    cklein@winston.com

                                    Attorneys for Defendants Celltrion Healthcare
                                    Co., Ltd., Celltrion, Inc., and Hospira, Inc.




                                     21
      Case 1:17-cv-11008-MLW Document 33-7 Filed 08/21/17 Page 23 of 23



                              CERTIFICATE OF SERVICE

       I, Andrea L. Martin, hereby certify that this Document was served on counsel of record
by electronic mail on July 11, 2017.

                                          /s/Andrea L. Martin, Esq.
                                          Andrea L. Martin, Esq.




                                             22
